This is an application for a writ of mandate.
The sole question presented is whether a municipality, the city of San Bernardino in this instance, is a "district" within the meaning of that word as used in that part of subdivision f of section 14 of article XIII of the constitution reading as follows: "The legislature shall provide for reimbursement from the general funds of any county to districts therein where loss is occasioned in such districts by the withdrawal from local taxation of property taxed for state purposes only," and in section 32 of an act of the legislature to carry into effect the provisions of section 14 of article XIII of the constitution, approved April 1, 1911 (Stats. 1911, pp. 530, 556).
The court is unanimously of the view that it is not a district within the meaning of the word as used in these provisions.
The application for a writ of mandate is denied.
  Rehearing denied. *Page 398 